Case: 2:20-mj-00259-KAJ Doc #: 5 Filed: 04/09/20 Page: 1 of 14 PAGEID #: 7




                                                         2:20-mj-259
Case: 2:20-mj-00259-KAJ Doc #: 5 Filed: 04/09/20 Page: 2 of 14 PAGEID #: 8
Case: 2:20-mj-00259-KAJ Doc #: 5 Filed: 04/09/20 Page: 3 of 14 PAGEID #: 9
Case: 2:20-mj-00259-KAJ Doc #: 5 Filed: 04/09/20 Page: 4 of 14 PAGEID #: 10
Case: 2:20-mj-00259-KAJ Doc #: 5 Filed: 04/09/20 Page: 5 of 14 PAGEID #: 11
Case: 2:20-mj-00259-KAJ Doc #: 5 Filed: 04/09/20 Page: 6 of 14 PAGEID #: 12
Case: 2:20-mj-00259-KAJ Doc #: 5 Filed: 04/09/20 Page: 7 of 14 PAGEID #: 13
Case: 2:20-mj-00259-KAJ Doc #: 5 Filed: 04/09/20 Page: 8 of 14 PAGEID #: 14
Case: 2:20-mj-00259-KAJ Doc #: 5 Filed: 04/09/20 Page: 9 of 14 PAGEID #: 15
Case: 2:20-mj-00259-KAJ Doc #: 5 Filed: 04/09/20 Page: 10 of 14 PAGEID #: 16
Case: 2:20-mj-00259-KAJ Doc #: 5 Filed: 04/09/20 Page: 11 of 14 PAGEID #: 17
Case: 2:20-mj-00259-KAJ Doc #: 5 Filed: 04/09/20 Page: 12 of 14 PAGEID #: 18
Case: 2:20-mj-00259-KAJ Doc #: 5 Filed: 04/09/20 Page: 13 of 14 PAGEID #: 19
Case: 2:20-mj-00259-KAJ Doc #: 5 Filed: 04/09/20 Page: 14 of 14 PAGEID #: 20
